                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                        Motion GRANTED.
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )       NO. 3:12-cr-00170
               v.                                    )
                                                     )
JAVIER PONCE-CURRASCO, et al.                        )       Judge Trauger

                                 MOTION TO UNSEAL INDICTMENT

       The United States of America, by and through David Rivera, Acting United States

Attorney, and Brent A. Hannafan, Assistant United States Attorney, hereby moves this Court to

unseal the superseding indictment as to defendant Raul Berumen.

       The superseding indictment in this case has only been partially unsealed. On January 11,

2013, the United States filed a notice of the return of a superseding indictment but redacted the

names of two defendants. (Docket No. 50). Those two defendants were defendants Berumen

and Fuerte-Barriga. Both of them have been arrested at this time but only defendant

Fuerte-Barriga has appeared in this District. The undersigned recently learned that defendant

Berumen was arrested on the warrant in this case but was charged and has been convicted on other

federal charges in the Southern District of California. The Probation Officer for that case has

requested a copy of the superseding indictment in this case in order to prepare the PSR for

Berumen. Additionally, it is anticipated that Berumen will be transported to this District upon

being sentenced in California.

       WHEREFORE, the United States respectfully requests this Court order the superseding

indictment be unsealed and that the unsealed copy be placed on the ECF Docket for this case.




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